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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. BENNETT2017 OK 46Case Number: SCBD-6512Decided: 06/05/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 46, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
Everett R. Bennett Jr., Respondent.



ORDER OF IMMEDIATE INTERIM SUSPENSION



¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Information and Plea, in which Everett R. Bennett Jr. entered pleas of guilty to the following misdemeanor counts, all of which occurred on February 11, 2015:



1) Driving Under the Influence of Alcohol in violation of 47 O.S.2011, § 11-902(A)(2);
2) Operating a Vehicle with an Expired/Improper Tag in violation of 47 O.S. 2011, § 1151;
3) Driving Under Suspension in violation of 47 O.S.2011, §6-303(B);
4) Transporting an Open Container in violation of 21 O.S.2011, § 1220; and
5) Failure to Carry Insurance Verification in violation of 47 O.S.2011, § 7-606.



The OBA also forwarded certified copies of the sentence of one year suspended with District Attorney supervision for the DUI, and fines for the other offenses.

¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Everett R. Bennett Jr. is immediately suspended from the practice of law. Everett R. Bennett Jr. is directed to show cause, if any, no later than June 16, 2017, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until June 27, 2017, to respond.

¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Everett R. Bennett Jr. has until July 13, 2017, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until July 31, 2017, to respond.

¶4 DONE BY ORDER OF THE SUPREME COURT on June 5, 2017.

/S/CHIEF JUSTICE

Combs, C.J., Gurich, V.C.J., Kauger, Watt, Winchester, Colbert, Reif, and Wyrick, JJ., concur;

Edmondson, J., dissents






	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Title 21. Crimes and Punishments
&nbsp;CiteNameLevel

&nbsp;21 O.S. 1220, Transporting Open Containers of Intoxicating Beverages or Low Point Beer - Exception - PenaltyCited
Title 47. Motor Vehicles
&nbsp;CiteNameLevel

&nbsp;47 O.S. 11-902, Persons Under the Influence of Alcohol or Other Intoxicating Substance or Combination ThereofCited
&nbsp;47 O.S. 6-303, Driving While License Under Suspension or Revocation - Penalties - MotorcyclesCited
&nbsp;47 O.S. 1151, Unlawful Acts - PenaltiesCited
&nbsp;47 O.S. 7-606, Failure to Maintain Insurance or Security - Failure to Provide Proof of Insurance or Security - PenaltiesCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
